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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Case No.: 18 Civ. 11071 (AKH)
IN RE GREENSKY

SECURITIES LITIGATION

 

 

[PROPOSED] ORDER

GRANTING PLAINTIFFS’ MOTION F OR CLASS CERTIFICATION
EMMA POR CLASS CERTIFICATION

This matter is before the Court on Lead Plaintiffs Northeast Carpenters Annuity Fund, El
Paso Firemen & Policemen’s Pension F und, and the Employees’ Retirement System of the City of
Baton Rouge and Parish of East Baton Rouge’s (collectively “Lead Plaintiffs’) Motion for Class
Certification, filed on February 21, 2020 (ECF No. 130),

For good cause shown, and based on the moving papers, the Court finds and concludes that
Lead Plaintiffs’ motion is well taken and Defendants GreenSky, Inc. (“GreenSky” or the
“Company”), David Zalik, Robert Partlow, Joel Babbit, Gerald Benjamin, Robert Sheft, John
Flynn, Gregg Freishtat, Nigel Morris (the “Individual Defendants”), and Goldman Sachs & C0
LLC, J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, Citigroup Global Markets Inc..,
Credit Suisse Securities (USA) LLC, Merrill Lynch, Pierce, Fenner & Smith Inc., SunTrust
Robinson Humphrey, Inc., Raymond James & Associates, Inc., Sandler O’ Neill & Partners, L.P.,
Fifth Third Securities, Inc.. and Guggenheim Securities, LLC (the “Underwriter Defendants’’)
(collectively, “Defendants” and, collectively with Lead Plaintiffs, the “Parties’”’) do not oppose the
requested relief.

Therefore, for the reasons identified in Lead Plaintiffs’ motion papers, and based on the

evidence filed therewith, IT IS HEREBY ORDERED THAT:
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A. Class Certification

(1) Plaintiffs’ motion for class certification is GRANTED.

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(2) This action is certified as a class action pursuant to Fed. R. Civ. P. 23(a) and

23(b)(3) for a class defined as follows (the *Class”):'

All persons and entities who purchased GreenSky Class A
common stock pursuant and/or traceable to the Registration
Statement and Prospectus (the “Offering Documents”) issued in
connection with Defendant GreenSky, Inc.’s May 25, 2018 initial
public offering and were damaged thereby. Excluded from the
Class are Defendants; the officers and directors of the Company;
members of their immediate families; and their legal
representatives, heirs, successors or assigns and any entity in
which Defendants have or had a controlling interest, provided,
however, that any “Investment Vehicle” shall not be excluded
from the Class. Investment Vehicle means any investment
company or pooled investment fund, including but not limited to,
mutual fund families, exchange traded funds, fund of funds, and
hedge funds, in which any of the Underwriter Defendants have,
has, or may have a direct or indirect interest, or as to which its
affiliates may act as an investment advisor, but in which any of
the Underwriter Defendants alone or together with its respective
affiliates is not a majority owner or does not hold a majority
beneficial interest.

(3) Lead Plaintiffs are appointed Class Representatives, as proposed in Lead Plaintiffs’

motion papers.

(4) Lead Counsel Cohen Milstein Sellers & Toll PLLC and Scottt+Scott Attorneys at
Law LLP are appointed as Class Counsel, as proposed in Lead Plaintiffs’ motion papers.

B. Class Notice

(1) No later than fourteen (14) days after entry of this Order, Class Counsel shall submit

for consideration to the Court a class action administrator to be retained by Class Counsel (the

 

' As set forth in Plaintiffs’ motion papers the prerequisites of Fed. R. Civ. P. 23(a) and (b)(3) are satisfied, and
Defendants do not oppose class certification. Defendants preserve all defenses as to each Lead Plaintiff and Class
Representative, including the right to depose these parties and their investment advisors during the discovery period.

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“Administrator”), a proposed Notice of Pendency of Class Action (the “Notice’”), and a proposed
Summary Notice of Pendency of Class Action (“Summary Notice”),

(2) GreenSky shall use its best efforts to provide, or cause to be provided, to Class
Counsel, as soon as practicable but no later than fourteen (14) days after Court approval of the
Notice and Summary Notice (the “Notice Date”), its available list of Class A shareholders
consisting of the available Class A shareholder names, addresses, and/or email addresses in
whatever form GreenSky or its agent maintains it in the ordinary course of business (the
“shareholder mailing list”). If possible, GreenSky will provide the shareholder mailing list in
electronic form, to the extent it already exists in that form, at no cost to Class Counsel or any future
settlement fund in this action.

(3) No later than fourteen (14) days after receipt of GreenSky’s shareholder mailing
list, the Administrator shall cause a copy of the Notice to be mailed by first-class mail, postage
pre-paid, and/or emailed to the extent email addresses are provided by the transfer agent, to all
members of the Class at the address of each such person as set forth in the shareholder mailing list
provided by the Company, or who otherwise can be identified through reasonable effort.

(4) Contemporaneously with the mailing of the Notice, Class Counsel shall publish the
Summary Notice once in Jnvestor’s Business Daily and on PR Newswire. Class Counsel shall also
place the Notice and Summary Notice on a website established by Class Counsel (the “Class
Action Website”) designated for this lawsuit from which Class Members may download copies of
the Notice.

(5) The Company shall disclose the URL address of the Class Action Website once in

any quarterly or annual report filed within 90 days after the Notice Date.

(6) The Administrator shall use reasonable efforts to give notice to nominee owners

 

 
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such as brokerage firms and other persons or entities who purchased GreenSky common stock
pursuant or traceable to the Offering Documents as record owners but not as beneficial owners.
Nominees who purchased GreenSky common stock for beneficial owners who are Class Members

are directed to, within fourteen (14) days of receipt of the Notice:

a. request additional copies of the Notice from the Administrator for them to email or
mail to such beneficial Owners; or

b. send a list of the names, addresses, and email addresses of such beneficial owners
to the Administrator who, upon receipt thereof, shall promptly email or mail the
Notice to these beneficial owners. If email addresses are not available, the nominee
shall notify the Administrator of that fact with its bulk request and explain why they
are not available.

(7)  Ifanominee elects to send the Notice to beneficial owners, such nominee is directed
to email or mail the Notice within fourteen (14) days of receipt of the additional copies of the
Notice from the Administrator, and upon sending, the nominee shall send a statement to the
Administrator confirming that the emailing or mailing was done as directed, and the nominee shall

retain the list of names and addresses for use in connection with any possible future notice to the

Class. Upon full compliance with this Order. including the timely emailing or mailing of the Notice
to beneficial owners, such nominees may seek reimbursement of their reasonable expenses actually
incurred in complying with this Order, not exceeding a maximum set by the Administrator, by
providing the Administrator with proper documentation supporting the expenses for which
reimbursement is sought and reflecting compliance with these Instructions, including timely
emailing or mailing of the Notice, if the nominee elected or elects to do so. Unreasonable expenses

shall not be reimbursed. Any disputes with respect to the reasonableness or documentation of

 
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expenses incurred shall be subject to review by the Court.

(8) Class Members shall be bound by all determinations, orders, and judgments in this
Action, whether favorable or unfavorable, unless such persons and entities request exclusion from
the Class in a timely and proper manner. A putative Class Member wishing to make a request for
exclusion must submit such a request in written form in the manner and to the address designated
in the Notice, such that it is received within ninety (90) days after the Notice Date. Class Members
wishing to be excluded from the Class must, in their written request, provide their (1) name,
(11) address, (iii) telephone number, (iv) number of shares of GreenSky common stock purchased
or sold, (v) prices or other consideration paid or received for such shares(s), (vi) the date of each
purchase or sale transaction, and (vil) a statement that the Class Member wishes to be excluded
from the Class. The request for exclusion must also be signed by the person or entity requesting
exclusion. The request for exclusion shall not be effective unless it provides the required
information and is made within the time stated above, or the exclusion is otherwise accepted by
the Court. All putative Class Members who submit valid and timely requests for exclusion in the
manner set forth in this paragraph shall not be bound by any future judgment or settlement, shall
have no rights under any future settlement and shall not share in the distribution of any future
settlement fund.

(9) Any Class Member who retains separate counsel to represent him, her, or it by
appearing in these proceedings must have such counsel enter an appearance pursuant to Fed. R.
Civ. P. 23(c)(2)(B)(iv), as set out in the Notice, no later than ninety (90) days after the Notice Date.

(10) Any member of the Class who does not request exclusion from the Class in the
manner stated in this Order shall be deemed to have waived his, her or its right to be excluded

from the Class, and shall forever be barred from requesting exclusion from the Class in this or any

 

 
 

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other proceeding, and shall be bound by any future settlement, subject to the terms thereof. or
judgment.

(11) Within fourteen (14) days after the exclusion deadline has passed, Class Counsel
shall file with the Court proof of dissemination and publication of the Notice, and a sworn

statement listing the names of all persons and entities who have validly and timely requested

exclusion from the Class.

(12) This Order may be modified by the Court upon motion by either or both parties for

good cause shown.

(13) This Court shall retain jurisdiction over all matters arising pursuant to or related to

the relief granted by this Order,

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The Honorable Alvin K. Hellerstein
United States District Judge

 
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